
PER CURIAM.
The mother, K.S., has filed a belated appeal of a final judgment of termination of parental rights. See, e.g. , In re E.H. , 609 So. 2d 1289, 1290-91 (Fla. 1992) (holding that mother was entitled to belated appeal due to ineffective assistance of counsel in failing to timely file notice of appeal). Because the record supports the trial court's finding that the Department of Children and Families proved, by clear and convincing evidence, all necessary elements for termination of parental rights, we affirm. See L.F. v. Dep't of Child. &amp; Fams. , 888 So.2d 147, 148 (Fla. 5th DCA 2004) ("Where a trial court has found that there is clear and convincing evidence supporting a termination of parental rights, such findings enjoy a presumption of correctness and will not be overturned unless clearly erroneous and lacking evidentiary support.").
AFFIRMED.1
EVANDER, C.J., WALLIS and HARRIS, JJ., concur.

Given our disposition of the mother's appeal, we find it unnecessary to address the issues raised on cross-appeal.

